       Case 5:15-cv-00445-DNH-TWD Document 164 Filed 11/20/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

ALONZO GRANT and STEPHANIE GRANT,

                                           Plaintiffs,

vs.
                                                                 Civil Action No.:
                                                                 5:15-CV-445 (DNH/TWD)
CITY OF SYRACUSE; POLICE OFFICERS DAMON
LOCKETT and PAUL MONTALTO, POLICE OFFICER
BRIAN NOVITSKY, CHIEF OF POLICE FRANK
FOWLER,

                                         Defendants.

                                     NOTICE OF MOTION

      Motion By:                              Defendants Damon Lockett and Paul Montalto.

      Motion Calendar Return Date:            December 28, 2018, at 10:00 A.M. before Hon.
                                              David N. Hurd, on submit, unless directed
                                              otherwise.

      Relief and Basis:                       An Order granting judgment as a matter of law
                                              as to Plaintiff’s false arrest and false
                                              imprisonment claims pursuant to Fed. R. Civ. P.
                                              50(b), granting a new trial and remittitur
                                              pursuant to Fed. R. Civ. P. 59, and such other
                                              relief as the Court deems just and proper.

      Supporting Papers:                       (1)       Memorandum of Law; and
                                               (2)       Declaration of John G. Powers.

                             REQUEST FOR ORAL ARGUMENT

                           Defendants respectfully request oral argument.




{H3473272.1}
     Case 5:15-cv-00445-DNH-TWD Document 164 Filed 11/20/18 Page 2 of 3



        Dated: November 20, 2018                Respectfully submitted,
        Syracuse, New York               By:    s/ John G. Powers, Esq.

      OFFICE OF                                HANCOCK ESTABROOK LLP
      CORPORATION COUNSEL                      John G. Powers, Esq. (508934)
      CITY OF SYRACUSE                         1500 AXA Tower I
      Todd M. Long, Esq.                       100 Madison St.
      Assistant Corporation Counsel,           Syracuse, NY 13202
      City of Syracuse                         (315) 565-4500
      233 E. Washington St., Suite 300
      Syracuse, NY 13202
      (315) 448-8400


                                 COUNSEL FOR DEFENDANTS




{H3473272.1}
     Case 5:15-cv-00445-DNH-TWD Document 164 Filed 11/20/18 Page 3 of 3



                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2018, I caused the foregoing Motion and all

referenced supporting papers to be filed electronically with the Clerk of the District Court,

Northern District of New York using the CM/ECF system, which sent contemporaneous

notification of such filing to all counsel who have made an appearance in this action.


                                                      s/ John G. Powers, Esq.
                                                      (Bar Roll No. 508934)




{H3473272.1}
